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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Criminal Case No. 1:03-cr-00128-WYD-01

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  1. DANA WEST,

         Defendant.


       ORDER TO SEAL DOCUMENTS #204 AND 205 AND ATTACHMENTS


         The Court has for consideration the government’s Motion to Seal Documents #204

  and 205 and Attachments, wherein the government asks this Court to seal Documents

  #204 ans 205, the motion and order attached thereto, and any order resulting from

  Document #205. Upon consideration, it is

         ORDERED that Documents #204 ans 205, the motion and order attached thereto,

  and any order issued by this Court with regard to Documents #205, are hereby sealed until

  further order of this Court.

         IT IS SO ORDERED on this          day of March, 2007.


                                           UNITED STATES DISTRICT JUDGE
                                           UNITED STATES DISTRICT COURT
                                           DISTRICT OF COLORADO
